      Case 4:05-cr-00139-KGB Document 82 Filed 07/18/06 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

vs.                                CASE NO. 4:05CR000139-02GH
ROBERT LEE PHILLIPS                                                          DEFENDANT

                                           ORDER

       Pending before the Court is defendant’s motion for reconsideration of the Court’s
Order rescinding the authorization of the mitigation specialist and requests that the Court
allow investigative costs beyond the statutory amount of $7500.00. The government
concurs with the request, noting that obtaining funding now will negate the need for a
continuance of the April 16, 2007 trial.
       The Court has reconsidered. While the Court agrees that a death qualified
investigator and mitigation specialist are necessary at this point, defendant has not
provided an estimate of the anticipated expense. The failure to do so was noted in the
earlier Order rescinding the authorization.
       Therefore, while the Court will approve the hiring of a mitigation specialist and
authorize investigative services beyond the statutory amount, the Court will not do so until
defendant submits anticipated expense of these services.
       Accordingly, the motion for reconsideration is granted as set forth above.
       IT IS SO ORDERED this 18th day of July, 2006.




                                           __   _______________________________
                                           UNITED STATES DISTRICT JUDGE



                                              -1-
